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x a THE UNITED STATES DISTRICT COURT
sen OR THE NORTHERN DISTRICT OF GEORGIA
of oo S ATLANTA DIVISION
CAROL H. THOMAS Civil Action File No.
Plaintiff, 1: 18- Cv-1542
v. JURY DEMAND

GLOBAL LENDING SERVICES, LLC

Defendant
ORIGINAL COMPLAINT

The Plaintiff, CAROL H. THOMAS, by and through herself and for her
Complaint against the Defendant, GLOBAL LENDING SERVICES, LLC., and
Plaintiff states as follows:

NATURE OF THIS ACTION
1. Plaintiff brings this action for actual and statutory damages arising out of and
relating to the conduct of Defendant, to include all of its affiliates, subsidiaries,
and/or related entities, as well as all persons and entities acting on behalf of
Defendants, including but not limited to GLOBAL LENDING SERVICES, LLC.,
(hereinafter, GLS) and, in negligently, knowingly, and/or willfully contacting
Plaintiff on her cellular telephone without his prior express written consent within

the meaning of the TCPA. This is an action for actual and statutory damages for
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violations of the Telephone Consumer Protection Act (hereinafter, “TCPA”), 47
U.S.C. section 227 et seq.'

JURISDICTION & VENUE

2. Jurisdiction of this Court is conferred by 15 U.S.C. § 1692 and 28 U.S.C. §

1331. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

PARTIES

4. CAROL H. THOMAS (hereinafter, Plaintiff) is a natural person at all relevant

times residing in county of Fulton, State of Georgia.

5. GLOBAL LENDING SERVICES, LLC, is a domestic company with a
corporate headquarters located at 1200 Brookfield Blvd, Suite 300, Greenville, SC,
29607. The Registered agent is located at 900 Old Roswell Lakes Parkway, Suite
310, Roswell GA, 300067.

6. At all relevant times, Defendant has conducted business in Georgia, solicited
business in Georgia, engaged in a persistent course of conduct in Georgia, or has

derived substantial revenue from services rendered in Georgia.

' Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394 (1991),
codified at 47 U.S.C. § 227 (TCPA). The TCPA amended Title II of the Communications Act of
1934, 47 U.S.C. § 201 et seq.
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THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
(TCPA) 47 U.S.C §227

7. In 1991, Congress enacted the TCPA in response to a growing number of
consumer complaints regarding certain telemarketing practices.

8. The TCPA regulates, inter alia, the use of automated telephone equipment, or
“predictive-dialers”, defined as equipment which “has the capacity...(a) to store or
produce telephone numbers to be called, using a random or sequential number
generator; and (b) to dial such numbers. 47 U.S.C. § 227(a)(1). Specifically, the
plain language of section 227(b)(1)(A\(iii) prohibits the use of auto-dialers to make
any call to a wireless number in the absence of an emergency or the prior express
consent of the called party.’

9. According to findings by the Federal Communications Commission (FCC), the
agency Congress vested with authority to issue regulations implementing the
TCPA, such calls are prohibited because, as Congress found, automated or
prerecorded telephone calls are a greater nuisance and invasion of privacy than live
solicitation calls, and such calls can be costly and inconvenient. The FCC also
recognized that wireless customers are charged for incoming calls whether they
pay in advance or after the minutes are used’.

747 U.S.C. § 227 (b)(1)(A)iii).
*Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Red. 14014 (2003).
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10. The TCPA prohibits the use of automatic telephone dialing systems and the

prerecorded messages to call wireless devices. § 227(b) prohibits... the use of

automated telephone equipment; (1) Prohibitions...”It shall be unlawful for any
person within the United States or any person outside the United States if the

recipient is within the United States—’...”

11. In order to redress these injuries, Plaintiff brings this suit under the TCPA,

which specifically prohibits unsolicited voice calls to cell phones. Defendant GLS

has harassed the Plaintiff and violates the right of privacy of all consumers.
ALLEGATIONS OF FACT

12. On several occasions, Plaintiff answered her cellphone and was greeted by an

automated voice, stating “please stay on the line”.

13. After steadily being harassed, on February 22, 2018, Plaintiff informed the
Defendant GLS that she no longer wished to receive calls on her cellphone in
regards to the alleged debt. In fact, Plaintiff informed the representative to stop all

calls.

14. After revoking consent to be contacted on her cellular phone, Plaintiff received
over 50 unsolicited calls from the Defendant GLS, calling from 877-3 14-4234.

Under the TCPA, oral revocation is permitted...see Osorio v State Farm, F-.S.B.
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no. 13-10951 (11th Cir. 2014); Gager v. Dell Financial Services, LLC---F.3d---,
WL 4463305(3d Cir. 2013).

15. The calls Plaintiff received were made using equipment that had the capacity
to store or produce telephone numbers to be called, using a random or sequential
number generator, and to dial such numbers.

16. Plaintiff suffered a concrete and real invasion of Plaintiff's legally protected
privacy rights through Defendant’s violation of the TCPA. The continuous
unwarranted phone calls caused the Plaintiff continuous harassment, as well as
usage of her phone that could have been used for other purposes.

17. Plaintiff suffered harm and damages in the form of emotional distress such as

anger, and resentment each time he received a phone call from the Defendant.

COUNT I-TCPA
KNOWING AND/OR WILLFUL VIOLATIONS

OF THE (“TCPA”), 47 U.S.C. SECTION 227, ET SEQ.
18. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
19. Using prohibited automated equipment and without prior express written
consent, the Defendant GLS, contacted the Plaintiff at least fifty (50) times by
means of automatic voice messaging to a cellphone or pager in violation of 47

U.S.C. §227(b)(1)(A)(iii).
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PRAYER FOR RELIEF
a) Asa result of the Defendant’s GLS knowing and/or willful violations of 47
U.S.C. § 227 et seq., Plaintiff is entitled to treble damages of up to $1,500.00 for
each and every call in violation of the statue, pursuant to 47 U.S.C. § 227(b)(3);
b) Assessing against GLS, all costs incurred by the Plaintiff; and
c) Awarding such other relief as justice and equity may require.
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